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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JEFFREY KALOUSTIAN, ON
BEHALF OF HIMSELF AND ALL                      Case No. 19-CV-13197
OTHERS SIMILARLY SITUATED,
                                               Hon. Sean F. Cox
       Plaintiff,                              Magistrate Elizabeth A. Stafford
v.

FORD MOTOR COMPANY,

       Defendant.

                    STIPULATED ORDER STAYING CASE

      The matter having come before the Court upon the Stipulation of the

undersigned Parties:

      1.     This putative class action arises out of Plaintiff’s allegations that Ford

Motor Company made false and deceptive representations to consumers concerning

the fuel economy ratings of select Ford-brand vehicles.

      2.     There are at least 19 other putative class actions asserting fuel

economy-based claims relating to Ford’s marketing and sale of the subject vehicles.

Those cases are:

          Cook v. Ford Motor Company, No. 2:19-CV-00335 (M.D. Ala.)
          Drake v. Ford Motor Company, No. 2:19-CV-14165 (S.D. Fla.)
          Hubert v. Ford Motor Company, No. 2:19-CV-02125 (C.D. Ill.)
          Lloyd v. Ford Motor Company, No. 19-CV-11319 (E.D. Mich.)
          Travis v. Ford Motor Company, No. 2:19-CV-11639 (E.D. Mich.)
          Dawson et al. v. Ford Motor Company, No. 19-CV-11728 (E.D. Mich.)
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       Riverside Turf Farm, Inc., et al. v. Ford Motor Company, 1:19-CV-00102
        (M.D. Ga.)
       Goodfriend et al. v. Ford Motor Company, No. 2:19-CV-03794
        (E.D.N.Y.)
       Napier v. Ford Motor Company, No. 1:19-CV-14639 (NJ)
       Allen et al. v. Ford Motor Company, No. 19-CV-12015 (E.D. Mich.)
       Smith v. Ford Motor Company, No. 19-CV-11993 (E.D. Mich.)
       Fencl v. Ford Motor Company, No. 1:19-CV-14714 (NJ)
       Pińon v. Ford Motor Company, No. 1:19-CV-02044 (CO)
       Arendt v. Ford Motor Company, No. 0:19-CV-01886 (MN)
       Sartip et al. v. Ford Motor Company, No. 19-CV-05905 (C.D. Cal.)
       Beavers v. Ford Motor Company, No. 19-CV-12080 (E.D. Mich.)
       Brewer, et al v Ford Motor Company, No. 2:19-CV-12135 (E.D. Mich.)
       Haynes, et al v Ford Motor Company, No. 2:19-CV-12427 (E.D. Mich.)
       Anderson v Ford Motor Company, No. 2:19-CV-12554 (E.D. Mich.)

      3.     On May 9, 2019, Plaintiffs in the Cook and Hubert actions jointly filed

with the United States Judicial Panel on Multidistrict Litigation (the “Panel”) a

motion to transfer pursuant to 28 U.S.C. § 1407 (“Transfer Motion”). The Transfer

Motion contends that transfer and coordination are appropriate because the identified

cases “involve common questions of law and fact,” which handled together will

“benefit the parties, the witnesses, and the courts.”

      4.     On August 1, 2019, the Panel ordered consolidation before the

Honorable Judge Sean F. Cox. See Transfer Order, MDL 2901.

      5.     The parties agree that this is a tag along action to MDL 2901, as that

term is defined by Rule 1.1(h) of the Rules of Multidistrict Litigation.

      6.     On November 6, 2019 Judge Cox order an initial Status Conference to

be held on Monday, December 16, 2019.

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      6.     The parties agree that a brief stay of this action will promote judicial

efficiency and consistency, and that neither the parties nor the progress of the action

will be prejudiced by such a stay.

      7.     The parties agree that the stay shall not prevent any plaintiff from

amending his or her complaint as a matter of right.

      8.     The parties therefore agree and stipulate that, subject to this Court’s

approval, this matter is stayed until further order of the Court.

      WHEREFORE, it is hereby ORDERED that this matter is STAYED until

further order of the Court.

      SO ORDERED.

Dated: December 3, 2019                        s/Sean F. Cox
                                               Sean F. Cox
                                               U. S. District Judge


STIPULATED AND AGREED TO BY:

By: /s/ Stephanie A. Douglas                          Dated: November 12, 2019
Stephanie A. Douglas (P70272)
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By: /s/ Paul F. Novak (w/consent)                     Dated: November 12, 2019
Paul F. Novak
Weitz & Luxenberg
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